                  Case: 4:22-mj-07029-SPM Doc. #: 1 Filed: 02/08/22 Page: 1 of 1 PageID #: 1

AO   9l (Rcv. I l/l   I   )   Criminal Complainl



                                                   UNrrEo Srarss Drsrrucr CouRr
                                                                              for the
                                                          EASTERN DISTRICT OF MISSOUzu

                          United Slates of America                               )
                                                                                 )
                               CHUNY ANN REED                                    )      Case   No.     ,1:22 MJ   7029 (SPM)
                                                                                 )      SUBMITTED TO THE COURT AND SICNED BY
                                                                                 )      RELIABLE ELECTRONIC MEANS
                                                                                 )
                                                                                 )
                                     Defendan(s)


                                                              CRJMINAL COMPLAINT
            l, the complainant in this case, state that the following is true to lhe best of my knowledge and belief.
On or about the date(s)                 of                Februan 5.2021                in the county   of                   St. Louis                in the
        Eastern                   District of             Missouri           , the defendant(s) violated:

                  Code Section                                                             Offense Descriplion

Tirlc 21, u.s.c., section 841(a)(l)                         Distribution ofcocaine base and fentanyl




             This criminal complaint is based on lhese facts:

                                                                  SEE ATTACHED AFFIDAVIT




             d    Continued on the attached               sheet.     I stale under the penalty ofperjury that t                             true and correct



                                                                                                              Complainant s signature
                                                                                                             TFO Daniel Plumb. DEA

                                                                                                                  Printed name atld tille


Swom to, attesled to, and affirmed before me via reliable electronic means pursuant to Federal Rules of Criminal Procedure
4.1 and      4l

Date:
                                                                                                                    Judge s signature


                                                    St. Louis. Missouri                  Honorable Shirley Padmore Mensah, U.S. Magistrate Judge
Citv and state:
                                                                                                                  Prinled nane and lille
